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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
TANYA GILL, )
)
Plaintiff, )
) Case No. 12 CV 2963
VS. )
) Honorable John J. Tharp, Jr.
VILLAGE OF MELROSE PARK, et al. ) Magistrate Judge Sheila M. Finnegan
)
Defendants. )

SWORN AFFIDAVIT OF MIKE RECINOS

I, MIKE RECINOS, being first duly sworn upon oath, do state and depose that I have

personal knowledge of all facts which follow and, if called, I could testify to the following:

1. lam a police officer employed by the Village of Melrose Park.
2. I was working in my capacity as a patrol officer on April 2, 2011.
3. At approximately 11:42 p.m. I responded to a dispatched call of a potential!

battery at the I-Bar located at 2010 W. North Avenue in Melrose Park, [[linois.

4. Upon arriving at the scene, I exited my police vehicle and entered the I-Bar. |
was informed by another officer that the parties to the alleged incident were already outside of
the bar. I then exited the I-Bar.

5. Once outside of the I-Bar, I spoke with owner, Bartosz Bazan, He told me that he
was behind the bar at the time and did not see the alleged battery.

6. I interviewed several bar patrons and security personne! outside of the I-Bar
regarding the alleged battery, none of whom witnessed the alleged battery.

7. I spoke with Ms. Tonya Frizell, who indicated that Ms. Tanya Gill was struck by

an unknown offender while in the bar. Ms. Frizell was very loud, emotional and demonstrative

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as I tried to ask her questions concerning the incident. Ms. Frizell continued to scream out that
her friend had been hit and she wanted the offender arrested.

8. While speaking with Ms. Frizell, I saw Officer Vito Migliore speaking with Ms.
Gill. At one point in time, | saw Officer Migliore holding Ms. Gill’s arm behind her back and
walking her to a nearby car. I did not see what preceded Officer Mighore’s actions. | then saw
Officer Migliore release her from the hold within seconds and they continued to discuss the
incident. Shortly thereafter I saw Ms. Gill leave the scene.

9, 1 was informed by another officer that Ms. Gill was going to make a criminal
complaint at the Melrose Park Police Department.

10. I then instructed patrons of the [-Bar in the parking lot to either enter the I-Bar or
leave the scene immediately. I waited approximately five minutes until the I-Bar parking lot was
empty. I entered my patrol car and continued my patrol duties.

11. I had no verbal or physical contact whatsoever with Ms. Gill.

Further affiant sayeth not.

UW Ald Pe

MIKE RECINOS

SUBSCRIBED and SWORN to before
ex GEA
me thisa) day of February, 2013.

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